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-FOR THE DISTRICT OF MARYLAND
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GLERK U.S. DISTRICT COURT

IN THE MATTER OF CRIMINAL ,,  DBTRICT OF MARYLAND
COMPLAINTS AGAINST CORTEZ Case No. [9-525 BAY

WEAVER, KEVIN BROOKS, JAMAL

 

DEPUTY”

JACKSON, and JERMAINE SUMPTER +0 | q G)C-SA (

 

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Francisco M. Rego, Special Agent with the Federal Bureau of Investigation, being duly
sworn, depose and state as follows:

1. This affidavit is submitted in support of a Criminal Complaint against Cortez
WEAVER, a/k/a “Corty,” a/k/a “Tez,” Kevin BROOKS, Jamal JACKSON, and Jermaine
SUMPTER, a/k/a “Jug.” As detailed below, there is probable cause to believe that all four
defendants conspired with each other to (1) distribute and possess with intent to distribute heroin,
in violation of 21 U.S.C. § 846; and (ii) to obstruct, delay, and affect commerce by robbery, by the
unlawful taking of narcotics and narcotics proceeds from the person and presence of victims, in
violation of 18 U.S.C. § 1951 (a).

2. { am an investigative or law enforcement officer of the United States within the
' meaning of 18 U.S.C. § 2510(7), that is, an officer of the United States who is empowered by law
to conduct investigations of and to make arrests for offenses enumerated in 18 U.S.C. § 2516. I
have been a Special Agent with the FBI since July 2017. Since May 2018, I have been assigned
to the FBI’s Safe Streets Task Force in Baltimore. As a member of the Safe Streets Task Force, |
have participated in numerous investigations of homicides, non-fatal shootings, firearms
trafficking and related crimes, and narcotics trafficking. I have conducted or participated in wire-
tap investigations, surveillance operations, the execution of search warrants, the recovery of

substantial quantities of narcotics and narcotics paraphernalia, the recovery of evidence related to
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homicides and other violent acts, and the debriefing of informants and cooperating witnesses. |
have also reviewed taped conversations and other records relating to narcotics trafficking and
homicides. I have made or participated in over 10 arrests for violations of federal and state
narcotics laws. I have also received specialized training in the field of narcotics. Through my
training, education and experience, I have become familiar with the manner in which narcotics
traffickers commonly use violence to further and protect their drug trafficking organizations. I am
familiar with the manners in which illegal drugs are transported, stored, and distributed; the
methods of payment for such drugs; the possession and use of firearms in connection with the
trafficking of such drugs; and the manner in which narcotics traffickers store and conceal the
proceeds of their illegal activities.

3. The statements made in this affidavit are based in part on: (a) my personal
participation in this investigation; (b) information provided to me by other law enforcement
officers; (c) information provided to me by an FBI confidential source (CS-1); (d) my review of
‘consensually monitored and/or recorded conversations; (e) criminal history records maintained by
various law enforcement agencies, including the Baltimore Police Department and the National
Crime Information Center; and (f} my training and experience and that of other law enforcement
agents and officers.

4, To the extent that consensually recorded conversations are summarized below,
those summaries do not include references to all topics covered during the recorded conversation.
Nor do the summaries include all statements made by the speakers on the topics described. All
quotations are based on preliminary transcriptions of those conversations and/or my review of the
actual recordings. In addition, the participants in many of the conversations used both slang terms

and code words. These code words and slang terms, as well as the Defendants’ communications
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in general, are interpreted throughout this affidavit. In some circumstances, I have provided that
interpretation in parentheses following the quote. These interpretations are based on (a)
information provided by CS-1, who was a party to some of the conversations; (b) my training,
experience, and knowledge of this investigation; (c) other law enforcement officers’ training,
experience, and knowledge of this investigation; and (d) other evidence gathered during the course
of this investigation, such as physical surveillance.

5. Some of the information referenced in this affidavit was provided to investigators
by CS-1. CS-1 is providing information in exchange for monetary compensation. CS-] has
provided information in the past that has been independently verified by investigators, and
investigators believe that CS-1’s information is reliable. In December 2018, CS-1 was arrested
and charged with possession of cocaine, marijuana and buprenorphine in the parking lot of a
Maryland correctional facility. During the arrest, CS-1 told police officers—falsely—that CS-1
possessed the cocaine, marijuana and buprenorphine in connection with a buy-bust operation as
part of CS-1’s cooperation with the FBI CS-1 has acknowledged that CS-1’s statement to the
police on the date of CS-1’s arrest was false.

PROBABLE CAUSE

6. Members of the FBI’s Baltimore Safe Streets Task Force are investigating criminal
activity by rival drug trafficking organizations engaged in a violent feud over a lucrative drug
“shop” at the Sunoco gas station! located at Baltimore Street and Hilton Avenue in Southwest

Baltimore City. One drug trafficking organization has ties to Abington Avenue, just east of the

 

1 During the course of the ongoing feud between these rival gangs, the gas station located at
3300 West Baltimore Street has changed over from being a Sunoco to a Marathon.
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Sunoco gas station, and the other has ties to Benkert Avenue, just west of the Sunoco gas station.
Multiple homicides and shootings have been linked to the turf war between these organizations.

7. According to CS-1, WEAVER is a violent member of the Abington Avenue
organization who carries firearms and is involved in criminal activity including drug trafficking,
robbery, and murder. CS-1 reported that WEAVER and an associate named Dwayne
TORRENCE, a/k/a “Rico,” were responsible for the July 17, 2017 murder of Maurice Finney,
a/k/a “Mitch,” and nonfatal shooting of Diamonta Boyd at the Sunoco gas station in the 3300 block
of West Baltimore Street, which they carried out in furtherance of their drug trafficking
organization.” CS-1 also advised investigators that WEAVER was using telephone number (410)
572-7018.

8. During the week of November 11, 2018, CS-1 placed a call to (410) 572-7018 that
was monitored by law enforcement. During the call, CS-1 made plans to meet WEAVER to
discuss a potential “lick,” i.e, a robbery opportunity. Soon after, CS-1 met with WEAVER and
recorded a conversation in which they discussed the potential robbery of a drug stash house.
Unbeknownst to WEAVER, the robbery opportunity was a fiction; the drug stash house did not
exist. WEAVER agreed to carry out the robbery, and he stated that this was “the same shit” that
“me and Jugg been doing.” “J ugg” is known to investigators as Jermaine SUMPTER. CS-1 knows
SUMPTER to be a criminal associate of WEAVER’s. Investigators interpreted WEAVER’s
comment to mean that he is engaged in an ongoing conspiracy with SUMPTER to commit home
invasion robberies of drug stash houses in order to enrich themselves and their drug trafficking

organization.

 

2 TORRENCE was convicted of the attempted murder of Boyd (among other offenses) in
Baltimore City Circuit Court on October 25, 2018 (Case No. 117223006). As of this writing,
WEAVER has not been arrested or charged in connection with the incident.
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9. During the recorded conversation, WEAVER also displayed a firearm to CS-] and
talked about owning several firearms, including a “45,” a “357,” and a “40.” While discussing the
potential stash house robbery, WEAVER confessed to having killed “Mitch’—7.e., Maurice
Finney, who, as discussed above, was murdered in the 3300 block of West Baltimore Street on
July 17, 2017. WEAVER proceeded to describe the murder using specific details that are
consistent with surveillance footage and other physical evidence recovered during the
investigation. For instance, WEAVER explained that he committed the murder with “Rico” (@e.,
TORRENCE), that he wore a mask and “skipped down on” the victim (which is corroborated by
the surveillance footage), and that he shot the victim once using a “40” (which is corroborated by
the physical evidence from the scene). At the conclusion of their conversation, CS-1 promised to
contact WEAVER in reference to the robbery opportunity. After the meeting, CS-1 provided the
recording of the conversation to investigators.

10. During the week of November 18, 2018, CS-1 placed a call to (410) 572-7018 and
atranged to meet WEAVER in order to further discuss the fictitious robbery opportunity.
Following this call, CS-1 provided a “screenshot” of the call log from CS-1’s phone to
investigators, which showed a completed call with phone number (410) 572-7018.

11. During the week of January 7, 2019, investigators learned that WEAVER’s (410)
§72-7018 number was out of service. On January 9, 2019, WEAVER called CS-1 from a different
number, (443) 734-5076. CS-1 answered the call and used the speaker function to allow |
investigators to monitor the call. During the conversation, CS-1 told WEAVER that CS-1 was
trying to get information in reference to 4 robbery they could commit. WEAVER again stated that

he wanted to take part in the robbery.
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12. On January 25, 2019, CS-1 made a phone call to WEAVER, in the presence of
investigators, for the purpose of arranging a meeting to further discuss the robbery opportunity.
CS-1 explained that CS-1 wanted to introduce WEAVER to an associate who was planning the |
robbery. Unbeknownst to WEAVER, the associate was an undercover law enforcement officer, _
UC-1. WEAVER explained that he was not in the area of the proposed meeting location—St.
Agnes Hospital—because he was watching his child at a different location. WEAVER agreed to
meet with CS-1 at that (second) location, and he subsequently sent a text message to CS-1 that
provided an address of “2621 claybrook drive.” Investigators believe that 2621 Claybrook Drive
is adjacent to the residence of WEAVER’s sister, Marquita. Databases of the Maryland Motor
Vehicle Administration show that Marquita Weaver is currently residing at 2619 Claybrooke
Drive, Baltimore, Maryland 21244.

13. Pursuant to WEA VER’s instructions, CS-1 and UC-I traveled to the area of 2621
Claybrook Drive in a vehicle equipped by investigators with an audio-video recording device. As
CS-1 and UC-1 were arriving, CS-1 made a phone call to WEAVER. WEAVER instructed CS-1
and UC-1 to pull their vehicle around the corner from 2621 Claybrook Drive. CS-1 and UC-1 did
as they were told.

14. A short time later, WEAVER approached CS-1’s and UC’s vehicle. CS-1 briefly
exited the vehicle to greet WEAVER. WEAVER then entered the front passenger seat of the
vehicle, and CS-1 sat behind WEAVER. UC-1 remained in the driver’s seat.

15, After WEAVER entered the vehicle, UC-1 introduced himself as “Shi” and claimed
to be a member of a drug trafficking organization that was importing large quantities of heroin into
the Baltimore area. UC-1 claimed that he was responsible for picking up shipments of heroin from

designated stash houses and delivering them to “drop” locations. UC-1 told WEAVER that he
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was upset with his confederates because they had failed to fully compensate him for his services.
He explained that he wanted someone to help him rob an upcoming shipment of heroin from his
confederates and that he would be willing to split the stolen heroin with whomever was willing to
commit the robbery.

16. With respect to the logistics of the robbery, UC-1 explained that his confederates
used a different stash location for each shipment of heroin that they delivered to the Baltimore
area; that his confederates would notify him of the stash location by sending him an address in a
text message; and that he was always expected to arrive at the stash location to pick up the shipment
of heroin within an hour of receiving the address. UC-1 explained that the same three individuals
were always inside the stash location and that two of the individuals always had firearms on their
persons when he arrived. UC-1 stated that he typically picked up multiple kilograms of heroin—
as many as five at a time—in connection with each shipment. UC-1 further stated that if WEAVER
and his associates agreed to commit the robbery. UC-1 would rent a storage unit at a nearby
facility, where WEAVER and his associates could meet with UC-1 after the robbery to divide their
respective shares of the stolen heroin. UC-1 told WEAVER that ifhe was interested in committing
the robbery, UC-1 wanted to meet with WEAVER and his associates as a group before the robbery
took place.

17. Throughout the conversation, WEAVER repeatedly indicated that he wanted to
commit the robbery. For instance, he explained that he had as many as three associates who could
help him commit the robbery—‘three people to run through that bitch.” He stated that he had
multiple firearms, including “a big ass chopper and a lot of big 40s.” He further claimed that he
had recently committed a similar robbery. “TI just hit a lick in the city,” he explained. “I ran in a

nigga house and got like ten thousand and six ounces of coke.” WEAVER also told UC-1 that
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following the robbery, he intended to “bust down,” or break down, the kilogram quantities of stolen
heroin into smaller components and sell the stolen heroin through his own distributors. He assured
UC-1 that “it [Ze., the robbery] ain’t gonna come back on you.”

18. Furthermore, at multiple points during the recorded conversation, WEAVER told
UC-1 that he intended to kill the individuals who were guarding the stash location after robbing
the individuals of their heroin. “Ain’t tryin’ to leave anybody in that bitch,” WEAVER told UC-
1. “Nobody coming out of there alive. Fuck no, that’ be stupid. You leave anybody in that bitch
alive ... all I gotta do is get in and waste ‘em.” Similarly, later during the conversation, WEAVER
stated, “I gotta kill ‘em, right; | can’t leave them alone. You get what I’m saying? It’s the only
thing that gotta happen. Like, they can’t be left alive.”

19. At the end of the conversation on January 25, 2019, UC-1 and WEAVER
exchanged phone numbers. Eleven days later, on February 5, 2019, WEAVER placed a phone
call to UC-1. During the phone call, WEAVER told UC-1 that he was just checking in. WEAVER
stated that he had notified his associates of the potential robbery and had told them that UC-1
would soon be coming to Baltimore meet them. UC-1 told WEAVER that he would call him back
at a later time. |

20. UC-1 placed a phone call to WEAVER on February 11, 2019. During the call, UC-
1 asked WEAVER what he was doing the following day. WEAVER told UC-1 that he would alert
his associates so that UC-1 could meet with the associates as a group. UC-1 responded that he
would call WEAVER the following day, i.e,, February 12, 2019.

21. On February 12, 2019, UC-1 called WEAVER to arrange a meeting with WEAVER

and his associates to further discuss the potential robbery. Later that day, UC-1 met with
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WEAVER, BROOKS, and JACKSON at a McDonald’s restaurant in West Baltimore. UC-1 wore
a recording device to capture his interactions with WEAVER, BROOKS, and JACKSON.

22. During the meeting, UC-1 stated that he was scheduled to pick up multiple
kilograms of heroin the following day, and that he wanted assistance from WEAVER, BROOKS,
and JACKSON in taking the heroin. WEAVER, BROOKS, and JACKSON indicated that they
were interested in assisting UC-1, and all three asked questions or made Observations regarding
the logistics of the robbery. For example, JACKSON asked whether there were cameras in the
area of the stash house where the robbery was going to take place. He also asked whether one of
the individuals in the stash house was going to be “strapped” (7.e., carrying a firearm on his person).
Similarly, BROOKS observed that “the biggest problem is getting in,” 7.e., gaming entry into the
stash house. He further ensured UC-1 that “a nigga ain’t gonna do nothing that’s gonna jeopardize
you.” At the conclusion of the meeting, WEAVER, BROOKS, and JACKSON agreed to meet
with UC-1 at a storage facility in advance of the robbery the following day.

23. Onthe morning of February 13, 2019, UC-1 placed a phone cail to WEAVER for
the purpose of ensuring that WEAVER, BROOKS, and JACKSON were going to meet with UC-
1 at the storage facility in advance of the robbery. During the call, WEAVER told UC-1 that he
was attempting to procure a rental vehicle that he and his associates could use in connection with
the robbery. WEAVER later informed UC-1, however, that he was unable to procure the rental
vehicle. Later that morning, WEAVER sent a text message to UC-1 in which he stated, “Yoo it
was too much short timing I thought you was going just come meet them and then next time you

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come down so next time soon as you car I’m going get everything done soon.” Minutes later,
WEAVER sent two additional text messages to UC-1. In the first, WEAVER stated, “So nothing

bad can happen and things go wrong lor more homework try watch them a lor more see who all
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got rockets.” In the second message, WEAVER wrote, “Just not trying rush and then everybody
fucked up you feel me.” Based on my training, experience, and involvement in this investigation,
I believe that in the text messages excerpted above, WEAVER was informing UC-1 that he and
his associates were unable to organize themselves for the potential robbery due to “short timing,”
and that WEAVER wanted more information regarding which of the individuals in the stash house
would be armed (“try watch them a lor more see who all got rockets”).

24. On February 19, 2019, UC-1 placed a phone call to WEAVER and notified him
that he was returning to the Baltimore area to pick up another shipment of heroin in a couple of
weeks. WEAVER responded, “Alright, alright. I’m gonna make sure | get everything ready.”
UC-1 then offered to procure a rental car for WEAVER and his associates. WEAVER responded,
“Alright, bet. That’s what’s up.” Later during the call, WEAVER told UC-1 that he would Jet
him know about the rental car as soon as he had spoken with his associates. Six days later, on
February 25, 2019, WEAVER sent a text message to UC-1 in which he stated, “Yoo we got a ride
now,” indicating that he, BROOKS, and JACKSON would not be needing a rental car because
they had successfully procured their own vehicle to use in connection with the robbery.

25. On or about March 6, 2019, CS-1 informed investigators that approximately two
days earlier, WEAVER had contacted CS-1 to discuss the potential robbery. Toll records for CS-
1’s cell phone show that on March 4, 2019, WEAVER made three calls to CS-1’s cell phone, none
of which were answered. The records further show that later that day, CS-1 returned WEAVER’
call and had a conversation with WEAVER that lasted approximately nine minutes and 55 seconds.
CS-1 informed investigators that during the conversation, WEAVER said that the last time he was
supposed to commit the home invasion robbery with “Shi” (Z.e., UC-1), he had been unabie to

obtain a vehicle in time to commit the robbery. WEAVER also asked CS-] how well CS-1 knew

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“Shi.” CS-1 responded that CS-1 knew “Shi” because they had previously worked together at a
trucking company and that “Shi” was actively involved in distributing large quantities of heroin.
WEAVER asked CS-1 whether CS-1 was a personal friend of “Shi.” -CS-1 advised that they were
not close friends. According to CS-1, WEAVER responded, in substance, that he was glad that
CS-1 and “Shi” were not good friends because he was planning on killing CS-1 in the stash house
and “leaving him stinking in the house” with the other victims, i.e., the individuals responsible for
guarding the drugs in the house. WEAVER further told CS-1 that “Shi” had offered to rent a cat
for WEAVER and his associates, but that WEAVER did not want to commit the robbery in a car
rented by “Shi” if WEAVER and his associates were going to kill him.

26. On March 6, 2019, UC-1 contacted WEAVER to arrange a meeting with WEAVER
and his associates to confirm the logistics of the potential robbery. Later that day, UC-1 met with
WEAVER, BROOKS and J ACKSON at a McDonald’s restaurant in West Baltimore. UC-1 wore
a recording device, which UC-1 used to record his interactions with WEAVER, BROOKS, and
JACKSON. As UC-1 was arriving at the restaurant, he encountered WEAVER exiting a black
. four-door Nissan Maxima sedan. UC-1 and WEAVER then entered the restaurant together.

27. A second BPD undercover officer, UC-2, was conducting covert surveillance of the
meeting in order to ensure UC-1’s safety. After UC-1 and WEAVER entered the restaurant, UC-
2, observed an individual later identified as SUMPTER sitting in the black Nissan Maxima that
WEAVER had arrived in. UC-2 later observed SUMPTER entering the restaurant with other
individuals, finding a seat, and observing the conversation between UC-1, WEAVER, and
WEAVER’s associates from a distance.

28. Inside the restaurant, UC-1 met with WEAVER. WEAVER was later joined by

JACKSON and BROOKS. When JACKSON arrived, UC-1 asked whether he (7.e., JACKSON)

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was still “in this,” i.e., the robbery. JACKSON responded, “Yeah, hell yeah. Hell yeah.” After
BROOKS arrived, UC-1 again discussed the robbery with all three defendants. During the
discussion, UC-1 explained that he had wasted his money renting a storage unit in connection with
the previous, unexecuted robbery plan on February 13, 2019. JACKSON then stated, “it ain’t
going to waste this time.” Later, when the discussion tumed to the logistics of the robbery,
WEAVER noted that of the three individuals expected to be guarding the stash house, “the nigga
in the back” was “probably the only nigga we gotta be worried about.”” JACKSON agreed, stating
“that’s why I think that’s the only person we gotta worry about—the nigga that ‘got that shit.”
WEAVER then discussed his plan to neutralize the three individuals whom he expected to be’
guarding the stash house. “One nigga grab him at the door,” WEAVER said. “One nigga grab the

nigga in the middle. The other nigga in back.” JACKSON later stated, “We ready. We ready.
We already got enough artillery to do what the fuck we said then. We gonna get in there.”
JACKSON also stated that following the robbery, he and his associates would “drop the three’ —
that is, they would dilute, or “stretch,” the stolen heroin with a cutting agent——before selling it in
the streets. Throughout the conversation, BROOKS was listening attentively and nodding his
head.

29. On the morning of March 7, 2019, UC-1 exchanged multiple phone calls and text
messages with WEAVER in order to make plans to meet up to commit the robbery. UC-1 arranged
to meet WEAVER and his associates in the parking lot of a Roya! Farms store near a storage
facility in the area of the Horseshoe Casino. At approximately 11:2] am., WEAVER, BROOKS,
JACKSON and SUMPTER arrived in the parking lot in a black four-door Nissan Maxima sedan.
WEAVER then exited the Nissan Maxima and approached UC-1’s vehicle. WEAVER greeted

UC-1 and explained that his associates were reluctant to accompany UC-1 to the storage facility

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in advance of the robbery, as UC-1 had previously proposed. “They ain’t trying to go the storage
locker,” WEAVER said. “They talkin’ about why the fuck we gotta nde to the storage locker.
They talkin’ about he probably [w/1] the police. They ain’t trying to whip up in the storage locker
and get boxed in and all that goofy shit.” UC-1 responded that he wanted to “show them” the
locker, so that “they know what the fuck they’re doing.” WEAVER stated he would try to persuade
his associates to accompany him and UC-1 to the storage facility. He then exited UC-1’s vehicle
and returned to the Nissan Maxima.

30. Minutes later, WEAVER made a call to UC-1. During the call, WEAVER
explained that BROOKS, JACKSON and SUMPTER did not believe they needed to accompany
WEAVER and UC-1 to the storage facility. “They say everybody don’t gotta know,” WEAVER
said, “as long as I know it’s good.” WEAVER then exited the Nissan Maxima, got back into UC-
1’s vehicle, and rode with UC-1 to the storage facility. As WEAVER and UC-1 were entering the
storage facility, UC-1 asked WEAVER, “They still about it [z.¢., the robbery], nght?” WEAVER
responded, “Yeah, they stili about it. They just don’t want to come to the storage, talking about,
the police might be sitting back there, we can’t get out.”

31. Upon arriving at the storage facility, WEAVER and UC-1 exited UC-1’s vehicle, .
and UC-! brought WEAVER up a flight of stairs, where he showed WEAVER and empty storage
locker. After viewing the locker, UC-1 and WEAVER retumed to UC-1’s vehicle. Inside the
vehicle, UC-] told WEAVER, “you could just rock with me,” meaningthat WEAVER could nde
with UC-1 from the storage facility to the stash house where the robbery was to take place.
WEAVER initially agreed, but then he stated that he wanted to get back “in the car with them [i.e.,
BROOKS, JACKSON, and SUMPTER] for real, so | can make sure they good.” WEAVER

continued: “Like they on some goofy shit, you feel what I’m saying. I need to make sure they head

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clear, like y’all need to clear that shit up. All that goofy shit y’all doing need to stop now, cause I
ain’t with all the goofy shit, man. Like go in this motherfucking house and y’all get me shot. I
ain’t with none of that.”

32. Approximately two minutes later, UC-1 exited his vehicle and gave the arrest signal
to law enforcement officers who were waiting nearby. Multiple officers then approached the
vehicle and placed WEAVER under arrest. During-a search of WEAVER’s person, the officers
recovered a Ruger .357 revolver from the front inside pocket of WEAVER’s coat. The revolver
bore serial number 17214226 and was loaded with six rounds. The officers also recovered 11
pink-top vials, which field-tested positive for cocaine, from the breast pocket of WEAVER’s coat.
The officers removed the knit cap that WEAVER was wearing, underneath of which they
discovered a mask, which WEAVER was wearing but had pulled down to expose his face. Officers
then searched UC-1’s vehicle and recovered two black woolen gloves from the floor underneath
the passenger seat. The gloves were not inside the vehicle before WEAVER entered the vehicle
to accompany UC-1 into the storage facility. Officers also recovered a cell phone belonging to
WEAVER from the ground next to UC-1’s vehicle.

33. Meanwhile, a second team of law enforcement officers approached the black
Nissan Maxima in the Royal Farms parking lot and placed BROOKS, JACKSON, and SUMPTER
under arrest. At the time of the arrest, SUMPTER was in the driver’s seat of the vehicle, BROOKS
was in the rear driver’s side seat, and JACKSON was in the rear passenger side seat. During
searches incident to arrest, officers recovered black masks from both BROOKS and JACKSON.
Both were wearing the masks on their head. Officers then conducted a search of the vehicle. From
the glove box, center console, and trunk, the officers recovered paperwork and prescription

medication bearing SUMPTER’s name. From the floor in front of the rear passenger side seat

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(where JACKSON had been sitting), the officers recovered a black Keltec 9 millimeter handgun
bearing serial number AUY36. The handgun was loaded with 10 rounds, one of which was in the
chamber. The officers also recovered a pair of black woolen gloves from the same location. From
the floor in front of the rear driver’s side seat (where BROOKS had been sitting), the officers
recovered one black woolen glove. The officers discovered another black woolen glove on the
rear driver’s side seat itself. The officers also recovered four cell phones —one from the center
console; another from the front passenger seat; a third from inside the pocket on the rear side of
the passenger seat; and a fourth from the ground outside the rear driver’s side door.

34, Following the arrests, FBI agents and task force officers interviewed (or attempted
to interview) each of the defendants individually. At the beginning of each interview, the agents
and task force officers advised the defendants of their Miranda rights. WEAVER and JACKSON
both declined to speak with investigators. BROOKS and SUMPTER, by contrast, both waived
their Miranda rights and provided statements.

35. During their respective interviews, BROOKS and SUMPTER both attempted to
distance themselves from the robbery plot and made a number of false exculpatory statements.
BROOKS admitted, however, that he and WEAVER sold drugs together. He also stated that he
sold heroin, crack cocaine and fentanyl. He explained that he was a “hitter,” i¢., a retail-level
drug dealer, and that he sold approximately “400 pills” per day. Asked by investigators about the
robbery plan, BROOKS initially stated that he and his associates were planning to take “coke” in
connection with the robbery but he later corrected himself and stated that they planned to take
heroin. SUMPTER told investigators that he had driven WEAVER to the McDonald’s restaurant

so that WEAVER could meet with UC-1 on March 6, 2019. With respect to the robbery plan,

 

3 BROOKS had dropped the phone in this location as officers were placing him under arrest.
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SUMPTER stated that WEAVER was “basically going to work him or play him [ie., UC-1].”
Asked by investigators to elaborate, SUMPTER stated that WEAVER was going to “like burn

him, like work him, see what he got, burn him.”

CONCLUSION

36. Based on my training and experience, J know that possession of multiple kilograms
of heroin (the quantity of heroin that the defendants believed they would be robbing from the
fictitious stash house) is consistent with the intent to distribute that heroin to other persons. Based
on this and the evidence discussed above, I believe that the defendants conspired with each other
to rob their anticipated victims of multiple kilograms of heroin and to sell the stolen heroin on the .
streets of Baltimore.

37. To the best of my knowledge and belief, all statements made in this affidavit are
true and correct. Based on the foregoing, I believe there is probable cause to support the issuance
of a criminal complaint charging the defendants with (1) conspiracy to distribute and possess with
imtent to distribute heroin, in violation of 18 U.S.C. § 846; and (ii) conspiracy to obstruct, delay,
and affect commerce by robbery, by the unlawful taking of narcotics and narcotics proceeds from

the person and presence of victims, in violation of 18 U.S.C. § 1951.

   

 

gent Francisco M. Rego

Subscribed and sworn to before me this _W.__ day of March 2019.

 
 

 

The Honotible Stephanie A. Gallagher
United States, Magistrate Judge
District of Maryland, . 4. ‘

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